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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW MEXICO

PAMELA STERN,

       Plaintiffs,

v.                                                   Cause No. 1:15-cv-00823 KG-LF

GEICO GOVERNMENT EMPLOYEES
INSURANCE COMPANY,

       Defendants.

                        ORDER OF DISMISSAL WITH PREJUDICE

       THIS MATTER having come before the Court on the parties’ Motion to Dismiss With

Prejudice, the Court having considered the Motion and being otherwise fully advised in the

premises finds that the Complaint, together with all other claims which could have been asserted

therein, should be dismissed with prejudice, each party to bear its own costs and attorney’s fees.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that the Complaint,

together with all other claims which could have been asserted therein, be and hereby are

dismissed with prejudice, each party to bear its own costs and attorney’s fees.




                                             UNITED STATES DISTRICT JUDGE
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Approved by:


 Approved Electronically 2/26/16
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